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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                    )
GOCE GLIGOROV,                      )
                                    )
            Plaintiff,              )
                                    )
      v.                            )                21-cv-1773
                                    )
NATION OF BRUNEI, et al.,           )
                                    )
            Defendants.             )
____________________________________)

    MOTION FOR ADMISSION PRO HAC VICE OF W. BAKER GERWIG, IV

       Pursuant to Civil Local Rule 83.2(d), Defendants Dorchester Collection and

Dorchester Group, LLC move for the admission and appearance of attorney W. Baker

Gerwig, IV pro hac vice in the above-entitled action. This motion is supported by the

Declaration of W. Baker Gerwig, IV, filed herewith. As set forth in Mr. Gerwig’s

declaration, he is admitted and an active member in good standing of the following bars and

courts: State of Tennessee; State of Georgia; United States District Court for the Eastern

District of Tennessee. This motion is supported and signed by Jason H. Ehrenberg, an active

and sponsoring member of the Bar of this Court.

       WHEREFORE, Defendants respectfully requests that the instant Motion be granted.
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Dated: February 1, 2022            Respectfully submitted

                                   /s/ Jason H. Ehrenberg
                                   Jason H. Ehrenberg (D.D.C. Bar # 469077)
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                                   SOLUTIONS PLLC
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                                   Counsel for Defendants Dorchester Collection
                                   and Dorchester Group, LLC




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                             CERTIFICATE OF SERVICE

         I hereby certify that on February 1, 2022, a copy of the foregoing was served

electronically via the Court’s ECF electronic filing system on all counsel of record in this

case.


                                                    /s/ Jason H. Ehrenberg
                                                            Jason H. Ehrenberg




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